          Case 1:18-cr-00426-JPO Document 38 Filed 05/04/20 Page 1 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                     -v-                                            18-CR-426 (JPO)

 ADAM FIELD,                                                            ORDER
                               Defendant.


J. PAUL OETKEN, District Judge:

        On April 14, 2020, Defendant Adam Field filed a motion for release under the First Step

Act, 18 U.S.C. § 3582(c)(1)(a)(i), arguing that the risks created by the COVID-19 pandemic and

by the conditions at FCI Danbury, where he is incarcerated, justify his immediate release. (Dkt.

No. 29.) On April 20, 2020, this Court ruled that it lacked authority to act on Defendant’s

request prior to May 6, 2020, in light of the 30-day exhaustion period in the statute, but

recommended that the Bureau of Prisons (“BOP”) favorably consider Defendant’s request for

compassionate release. (Dkt. No. 34.)

        On April 29, 2020, the BOP denied Defendant’s request for compassionate release. (Dkt.

No. 37-1.) Accordingly, Defendant has renewed his motion for release under the First Step Act.

The Government opposes the motion. The Court has reviewed the parties’ written submissions

addressing the motion. (See Dkt. Nos. 29, 30, 31, 32, 33, 35, 36, 37.) For the reasons that

follow, the Court intends to grant Field’s motion for compassionate release effective May 6,

2020.

I.      Legal Standard

        A court may not modify a term of imprisonment once it has been imposed except

pursuant to statute.” United States v. Gotti, No. 02-CR-743, 2020 WL 497987, at *1 (S.D.N.Y.

Jan. 15, 2020). A court is permitted to reduce a term of imprisonment if, after considering the


                                                     1
            Case 1:18-cr-00426-JPO Document 38 Filed 05/04/20 Page 2 of 5




factors in 18 U.S.C. § 3553(a), “it finds that . . . extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with the applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). The First Step Act allows a

court to reduce a sentence in this manner “upon motion of the defendant” either “after the

defendant has fully exhausted all administrative remedies to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf,” or after “the lapse of 30 days from the

receipt of such a request by the warden of the defendant’s facility, whichever is earlier.” Id.

II.    Discussion

       A.      Exhaustion of Administrative Remedies

       Defendant submitted his request for release to the warden of FCI Danbury on April 6,

2020. (See Dkt. No. 29-1.) As stated in its April 20 order, the Court has determined that it lacks

statutory authority to order Defendant’s release until May 6, 2020 — 30 days after Field

submitted his request to the warden. Nor does the BOP’s denial of his request appear to change

that date, because § 3582(c)(1)(a)(i) requires the exhaustion of “all administrative rights to

appeal” the BOP’s denial, even though any such administrative appeal here is entirely theoretical

at this point. Although it is two days before May 6, the Court believes that it does have the

authority to provide its reasoning and findings with respect to its decision to grant Defendant’s

motion for release effective May 6, 2020.

       B.      Extraordinary and Compelling Reasons

       Turning to the merits of Defendant’s motion, the Court finds that there are “extraordinary

and compelling reasons” warranting a reduction in his sentence. The applicable policy

statement, U.S.S.G. § 1B1.13, outlines four circumstances that constitute “extraordinary and

compelling reasons” and thus justify a sentence reduction. One of those circumstances is where




                                                     2
          Case 1:18-cr-00426-JPO Document 38 Filed 05/04/20 Page 3 of 5




the defendant is “suffering from a serious physical or medical condition . . . that substantially

diminishes the ability of the defendant to provide self-care within the environment of a

correctional facility and from which he or she is not expected to recover.” U.S.S.G.

§ 1B1.13(1)(A) & cmt. n.1(A). The policy statement also requires that the defendant not pose “a

danger to the safety of any other person or to the community.” U.S.S.G. § 1B1.13(2).

       The COVID-19 pandemic poses health challenges that are themselves extraordinary. The

novel coronavirus has infiltrated many of the BOP’s prisons and jails, affecting inmates and

staff. “The nature of prisons — crowded, with shared sleeping spaces and common areas, and

often with limited access to medical assistance and hygienic products — put those incarcerated

inside a facility with an outbreak at heightened risk.” United States v. Park, No. 16-CR-473

2020 WL 1970603, *2 (S.D.N.Y. April 24, 2020).

       Defendant suffers from hypertension, a condition that places him at heightened health

risk if he were to contract COVID-19. Before his incarceration he had obesity, although he has

experienced significant weight loss while incarcerated. He also has nonphysical health

conditions that present challenges for self-care. The Court’s concerns are heightened by

Defendant’s place of incarceration. At FCI Danbury, where Defendant is housed, “[a]s of April

23, there have been 32 positive cases of COVID-19 among staff members and 15 among

inmates, one fatal.” Id. at *4. Defendant is a nonviolent offender with no prior criminal

convictions, and the Court finds that he does not pose a danger to other persons or to the

community.

       Accordingly, the Court finds that the COVID-19 pandemic, coupled with Defendant’s

physical and medical condition and the conditions at Defendant’s prison facility, provide

“extraordinary and compelling reasons” for reducing his sentence.




                                                      3
            Case 1:18-cr-00426-JPO Document 38 Filed 05/04/20 Page 4 of 5




       C.      Section 3553(a) Factors

       The Court has also considered all of the sentencing factors set forth in 18 U.S.C.

§ 3553(a). As explained by the Court at sentencing, Defendant’s crime — which involved

possessing and sharing disturbing images of child sexual abuse — was serious. He has now

served over half of his 21-month sentence in prison and has a projected release date of December

11, 2020. Under the circumstances, releasing Defendant to home confinement approximately

seven months early would not materially undermine the goals of respect for the law, just

punishment, and general deterrence, particularly when balanced against the significant risk to

Defendant if he were infected. Nor does the Court believe that the goals of specific deterrence

and protecting the public require further imprisonment, as Defendant poses a low risk of

recidivism or violence. It is true that hypertension is a relatively common medical condition and

that there are likely other conditions that pose greater risk from COVID-19 infection. However,

in light of the totality of Defendant’s health challenges, and the other considerations addressed

here, the Court concludes that the pandemic creates a significant danger of the Court’s

previously imposed incarceratory sentence being “greater than necessary” to comply with the

purposes of sentencing. It is also important to note that after his release from FCI Danbury,

Defendant’s freedom will be significantly restricted during the term of home confinement until

December, and he will continue to be subject to strict probationary constraints for five years

thereafter. (See Dkt. No. 26.)

       While this Court previously concluded that a 21-month term of imprisonment was

required by the need for just punishment and general deterrence, that same sentence is not

required under circumstances where there is a very real risk that it could be transformed into a

death sentence.




                                                     4
          Case 1:18-cr-00426-JPO Document 38 Filed 05/04/20 Page 5 of 5




       The Court concludes that a sentence that is “sufficient, but not greater than necessary,” to

comply with the purposes of sentencing, 18 U.S.C. § 3553(a), is a sentence of time served,

followed by a term of supervised release that includes home confinement until December 11,

2020, the date on which the Defendant was expected to complete his custodial sentence.

III.   Conclusion

       For the foregoing reasons, Defendant Adam Field’s motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(a)(i) is granted, effective May 6, 2020.

       Defendant shall be resentenced to time served, and shall be released from the custody of

the Bureau of Prisons, effective May 6, 2020. Upon release, Defendant shall immediately be

placed on supervised release status, with a special condition of home confinement until

December 11, 2020. Furthermore, until December 11, 2020, and for five years thereafter,

Defendant shall be subject to all the mandatory conditions, standard conditions, and special

conditions of supervised release from the original judgment and sentence in this case.

       SO ORDERED.

Dated: May 4, 2020
       New York, New York




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